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EXHIBIT 2
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1 IN THE UNITED STATES DISTRICT COURT 1 INDEX
3 FOR THE DISTRICT OF MASSACHUSETTS 2 WITNESS: CHRIS L. WOOD
3. INRE: NEURONTIN MARKETING, SALES ) 3 INDEX OF EXAMINATIONS
PRACTICES AND PRODUCTS LIABILITY } 4 Page/Line
4 LITIGATION )
) 5S By Mr, Ferguson wee & 10
5 ) 6 ByMr. Lanier... 9 ZF
8 7 ByMr. Ferguson... dG SF
) CASE NO. 8 By Mr. Lanier ccc 48° 14
? )04-10981 9 By Mr. Ferguson ...
THIS DOCUMENT RELATES TO: } .
8 ) 10“ By Mr. Lanier ~. 50 10
RUTH SMITH, Individually and as ) 11 INDEX OF EXHIBITS
9 Widow for the use and benefit of } ; :
herself and the nextofkinof ) 12 Page/Line
10 = Richard Smith, deceased. ) 13 NOT eee FTP
) Wa NOD occas 8 2
110 05-CV-11515 )
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12 16
13 17
14 YIDEOTAPED DEPOSITION OF
15 CHRIS L. WOOD, DDS 18
16 Taken on Behaitf of the Defendant 49
17 June 7, 2007
19 21
20
24 22
22 23
23 24
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25 25
2 4
1 APPEARANCES: 41
2 For the Plaintiff: . wee
3 MARK LANIER 2 The videotaped deposition of CHRIS L.
DARA HEGAR 3. WOOD, DDS, taken on behalf of the Defendant, on
4 PATRICK O'HARA 4 the 7th day of June, 2007, in the offices of Chris
Lanier Law Firm
5 6810 F.M. 1960 West 5 L. Wood, DDS, 1502 17th Avenue South, Nashville,
Houston, Texas 77069 6 Tennessee, for all purposes under the Federal
6 713.659.5200 aa
713.659.6416 7 — Rules of Civil Procedure.
7 wml@lanierlawfirm.cam & The formalities as to notice,
8 ANDREW G. FINKELSTEIN . . .
Finkelstein & Partners 8 caption, certificate, et cetera, are waived. All
9 436 Robinson Avenue 10 = abjections, except as to the form of the
Newburgh, New York 12550 . ,
10 800.634.1212 11 9 questions, are reserved to the hearing.
afinkelstein@|awampm.com 12 Itis agreed that Elisabeth A.
1 13. Miller, being a Notary Public and Court Reporter
12 For the Defendant:
43 KENNETH J. FERGUSON 14 forthe State of Tennessee, may swear the witness,
Clark, Thomas & Winters 15 and that the reading and signing of the completed
14 P.O, Box 4148 . .
Austin, Texas 78767 16 deposition by the witness are waived.
15 912.472.8800 7
912.474.1129 18
16 kji@ctw.com
7 19
Also Present: Sheldon Singh, Videographer 20 wee
18
19 21
20
22
21
22 23
23 24
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25 25
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21 23
1 possible. 1 comments — or questions about Neurontin. Why
2 @.  And-- and as | read the letter -- and 2. don’t you go ahead and tell us what he said.
3° scarrect me if I'm wrong — just to summarize it, 3 A. He had—he had asked me about Neurontin.
4 he -- you reassured him that his gums were — 4 That's nota drug that ~- you know, that is --
5 appeared to be normal? 5 well, terribly common. We de have patients that
6 <A. Correct. 6 are on that mainly for -- for seizures. And other
7 @. And he asked why they would be burning, 7 than just trying to look at drugs and their
& and you suggested potentially food allergy or 8 interactions with other ones that we're using,
8 sc certain toothpaste, right? 9 there's so many, | don’t stay up to PDR quality as
10 A. Yeah. There's sort of a scenario that you 10 far as all of the — the side effects and the
11. go over with food allergies, drugs. Younger 11. concerns that you have. Interactions, yes, but |
12 people that are going through, you know, hormonal 12 think that was basically what he had questioned me
13. changes and that sort of thing deal with that. 13° about.
14 And there's some other neurological things that ~ 14 Q. And ~ and you indicated you didn’t know
15 that o¢cur that -- that can cause that. 15 much about it, but he said he had gone online and
16 @. And you recommended that maybe he change 76 looked up some information on Neurontin, right?
17 =‘ toothpastes and sea if it helps? 17) OAL Yes, yes.
18 A. That would be a good conservative thing, 48 Q. ~~ And he indicated that it was making him
+9 ~——soya@s, sir. 19 ~~ feet weird and wasn't helping him, correct?
20 #4. ~~ And then you have a sentence -- f just 20 =A. Correct.
21 want to make sure | understand what you're saying, 21). Any — anything else about the drug
22 —siIt says, recounted past occurrences, and he seemed 22 Neurontin other than what's in the letter that you .
23s interested and would do that. When it says 2300s can racall?
24° ~—s recounted past occurrences, was that you 240 A. oN don'trecall really. And -- and ta be
25 = recounting past occurrences of someona who had had 25 = honest, | don’t remember — until seaing this
22 24
1 a problem and changec toothpastes, got better, or 1 letter, J didn't remember that drug even coming
2 what? 2 up. Looking at our records, | don't recall him
3. A. No, that would be with -- with Mr. Smith 3) even indicating that he was on it when we had him
4 and past problems that he had had. He seemed 4 doa medical update.
5 pretty receptive to what we — what he — what we 5 Sometimes patients don't tell you alt the
6 said. Sometimes patients are -- you can tell 6 = drugs they're on because they don’t feel like, as
7 them, and you can fell their response is, | hear 7  adentist, that you need to know.
8 you, but I'm not going to comply. 8B Q.~ Onthat day, did you have any discussion
9 @._ And then the next sentence starts with the 9 about any other medications that he might have
10 ~~ phrase, also mentioned drugs. Who initially 10 been on, other than what you recounted about
11. mentioned drugs? Was it you or hin? 11. Neurontin?
420 A. Well, | -- we mentioned asking -- asking 12, A. Notatall, not that | recall.
43 about drugs. 13° Q. ~~ Then you went an fo -- to discuss his
44 Q. Meaning what drugs he was on or what drugs 14 dental condition, and you made a few suggestions
45 — that might — 15 regarding what might help his -- his gums,
16 =A Yes. 16 9 correct?
t7¥ @. — -- might help his burning or what? 17 AL Yes, sir.
18 A. No. That -- 18 ©. And then he got up to leave, and you noted
9°06«, In what context? 19 helimped a little upon him getting up to leave,
20 A. That might be a cause of the — of the 20 and appeared ta have some discomfort as ha made
21 problem. 2t his way out, Can you describe that at all for us?
22 Q@. Isee. And -- and you said that Mr. Smith 22 ~~ Again, | know it's a long time ago, but anything
23 ~~ said, well, !'m on a lot of drugs? 23° alse that you can add to that?
24° =A. Yas. 24 =A. | guess | hadn't noticed him — him being
25 ©. And then he went on to — to make some 25 — sore or it bothering him when he would get up
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